Case 1:20-cr-O0086-KMW Document 53 Filed 01 1_Page.1 of 1
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK DOC #: 4
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UNITED STATES OF AMERICA, So aeeen

 

-against- 20 CR 86 (KMW)

SENTENCING
SCHEDULING ORDER
JOSEPH IORHEMBA ASAN, JR.

Defendant.
= x

 

KIMBA M. WOOD, District Judge

The Defendant is scheduled to be sentenced on April 21, 2021 at 11:00 a.m.

The Presentence Investigation Report is due to the Court on April 14, 2021.

Any sentencing submissions by Defendant must be made by April 16, 2021, and must state
specifically whether Defendant contests any fact in the Presentence Report, and whether Defendant contests
the appropriateness of the Probation Officer’s Sentencing Recommendation.

Defense counsel must arrange for the presentence interview to occur within 14 days of the defendant’s
guilty plea. The Government must submit a statement of facts to Probation within 14 days of the defendant’s
guilty plea, The Government must submit its 5K 1.1 letter, if applicable, 14 days before sentencing, All
counsel must review the Court’s Individual Rules before submitting sentencing memoranda.

Probation should contact Chambers if they experience difficulty scheduling the presentence interview
or if the PSR will not be completed in a timely fashion.

Any response or other submission from the Government is due April 19, 2021.

SO ORDERED

Dated: New York, New York
January 12, 2021

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KIMBA M, WOOD
UNITED STATES DISTRICT JUDGE

 
